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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE

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11      JOY PECZNICK and GIL KAUFMAN,                        CASE NO. 2:22-cv-00743-TL
        individually and on behalf of all others
12      similarly situated,
                                                             ORDER CONSOLIDATING CASES,
                               Plaintiffs,                   DENYING MOTION TO DISMISS
13
                v.                                           OR STAY, AND APPOINTING
14                                                           INTERIM CLASS COUNSEL
        AMAZON.COM, INC., a Delaware
15      corporation,

16                             Defendant.

17
        DENA GRIFFITH, individually and on                   CASE NO. 2:22-cv-00783-TL
        behalf of all others similarly situated,
18
                               Plaintiff,
19
                v.
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        AMAZON.COM, INC., a Delaware
21
        corporation,
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                               Defendant.
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     ORDER CONSOLIDATING CASES, DENYING MOTION TO DISMISS OR STAY, AND APPOINTING INTERIM CLASS COUNSEL
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 1            This matter comes before the Court on Plaintiff Dena Griffith’s Motion to Consolidate

 2   and for Appointment of Interim Class Counsel (Griffith Dkt. No. 14), 1 Defendant Amazon.com,

 3   Inc.’s Motion to Consolidate (Dkt. No. 16), and Plaintiffs Joy Pecznick and Gil Kaufman’s

 4   Motion to Dismiss or Stay Griffith; or in the Alternative to Appoint Wilshire Law Firm, PLC as

 5   Interim Class Counsel (Dkt. No. 31). For the reasons below, the Court GRANTS the motions to

 6   consolidate, DENIES the motion to dismiss or stay the Griffith case, and APPOINTS the law firms

 7   representing Plaintiff Griffith (BORDE LAW PLLC, Schroeter Goldmark & Bender, and the

 8   Law Offices of Ronald A. Marron, APLC) as interim class counsel.

 9                                                I.     BACKGROUND

10            On May 31, 2022, Plaintiffs Joy Pecznick and Gil Kaufman filed a putative class action

11   (Pecznick) in the Western District of Washington against Defendant Amazon.com, Inc., alleging

12   that the company had changed Amazon Prime members’ contractual benefits without

13   compensation by “unilaterally rescinding” a benefit of their annual subscription. Dkt. No. 1 at

14   8–10, 13. At the time the fee was introduced in 2021, customers had been paying $119 per year

15   for their Amazon Prime subscriptions, which had—in many locations across the United States—

16   included free grocery delivery from Whole Foods Markets for orders over $35.00. Id. at 5–7.

17   With the policy change, Amazon added a $9.95 “service fee” to any delivery from Whole Foods.

18   Id. at 8. The Pecznick Plaintiffs seek to certify a class of “[a]ll Amazon Prime members residing

19   in the United States who ordered Amazon’s Whole Foods free delivery and were annual

20   members when the $9.95 fee was introduced on October 25, 2021.” Id. at 10. The suit brings four

21   causes of action: violations of the Washington Consumer Protection Act (Wash. Rev. Code

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      References to “Dkt. No.” are to filings in the Pecznick action (Case No. 22-743) while references to “Griffith Dkt.
24   No” are to filings in the Griffith action (Case No. 22-783).


     ORDER CONSOLIDATING CASES, DENYING MOTION TO DISMISS OR STAY, AND APPOINTING INTERIM CLASS COUNSEL
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 1   § 19.86.020), breach of contract, breach of duty of good faith and fair dealing, and unjust

 2   enrichment. Id. at 13–15. The case was assigned to the Honorable Tana Lin.

 3          On June 7, 2022, Plaintiff Dena Griffith filed a putative class action (Griffith) in the same

 4   district against Amazon.com, Inc., alleging false and misleading advertising and “bait-and-

 5   switch” advertising in connection with “FREE” delivery from Whole Foods Markets. Griffith

 6   Dkt. No. 1 at 5–10. Griffith alleges that Defendant engaged in deceptive practices by continuing

 7   to advertise that it offered “free delivery” from Whole Foods to Prime members after instituting

 8   the new fee and that it used “drip-pricing” tactics to sneakily add that fee to Whole Foods orders

 9   placed by Prime members on Amazon.com, while not applying any fee to customers picking up

10   items from a Whole Foods store. Id. at 7–10. Plaintiff Griffith proposes certification of a

11   nationwide class as well as a California sub-class. Id. at 12. The nationwide class would include:

12   “All U.S. citizens who were Amazon Prime members that were charged a service fee in

13   connection with an online delivery from Whole Foods Market from August 1, 2021[,] until the

14   date notice is disseminated to the class, excluding Defendant and Defendant’s officers, directors,

15   employees, agents and affiliates, and the Court and its staff.” Id. The California sub-class would

16   include: “All California residents who were Amazon Prime members that were charged a service

17   fee in connection with an online delivery from Whole Foods Market from August 1, 2021[,] until

18   the date notice is disseminated to the class, excluding Defendant and Defendant’s officers,

19   directors, employees, agents and affiliates, and the Court and its staff.” Id. The complaint brings

20   eight causes of action: (1) the Washington Consumer Protection Act (Wash. Rev. Code §§

21   19.86.010 et seq.); (2) the Consumers Legal Remedies Act (Cal. Civ. Code §§ 1750 et seq.);

22   (3) the False Advertising Law (Cal. Bus. & Prof. Code §§ 17500 et seq.); (4) the Unfair

23   Competition Law (Cal. Bus. & Prof. Code §§ 17200 et seq.); (5) unjust enrichment / quasi

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     ORDER CONSOLIDATING CASES, DENYING MOTION TO DISMISS OR STAY, AND APPOINTING INTERIM CLASS COUNSEL
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 1   contract; (6) negligent misrepresentation; (7) concealment / non-disclosure; and (8) fraud. Id. at

 2   14–25.

 3            On the day she filed her complaint, Plaintiff Griffith also filed a notice of related case,

 4   alerting the Court that there were now two “putative class actions for claims arising out of a

 5   service fee charged by Amazon.com, Inc. in connection with its grocery delivery service from

 6   Whole Foods Market.” Griffith Dkt. No. 2 at 2. For this reason, the Griffith case was also

 7   assigned to the Honorable Tana Lin.

 8            On June 23, 2022, Plaintiff Griffith and Defendant Amazon.com, Inc. each filed their

 9   respective motions to consolidate. Griffith Dkt. No. 14; Dkt. No. 16. In her motion, Plaintiff

10   Griffith also requested that the Court appoint her counsel team as interim class counsel. Griffith

11   Dkt. No. 14. Plaintiffs in the Pecznick action opposed both motions, Dkt. No. 20, and

12   subsequently filed a motion to dismiss or stay the Griffith case under the first-filed rule, or

13   alternatively (in case of consolidation) to have their counsel appointed as interim lead counsel.

14   Dkt. No. 31.

15                                            II.   DISCUSSION

16            A.     The First-to-File Rule

17            The first-to-file rule is “a generally recognized doctrine of federal comity which permits a

18   district court to decline jurisdiction over an action when a complaint involving the same parties

19   and issues has already been filed in another district.” Pacesetter Sys., Inc. v. Medtronic, Inc., 678

20   F.2d 93, 94–95 (9th Cir. 1982); accord Kohn Law Grp., Inc. v. Auto Parts Mfg. Miss., Inc., 787

21   F.3d 1237, 1240 (9th Cir. 2015). “The purpose of the rule is to eliminate wasteful duplicative

22   litigation, to avoid rulings that may trench upon a sister court’s authority, and to avoid piecemeal

23   resolution of issues calling for a uniform result.” Ekin v. Amazon Servs., LLC, No.

24   2:14-cv-00244, 2014 WL 12028588, at *3 (W.D. Wash. May 28, 2014) (citation and quotation

     ORDER CONSOLIDATING CASES, DENYING MOTION TO DISMISS OR STAY, AND APPOINTING INTERIM CLASS COUNSEL
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 1   omitted). Under the first-to-file rule, a court may dismiss, stay, or transfer a case when a similar

 2   case is before a different district court. Alltrade, Inc. v. Uniweld Prods., Inc., 946 F.3d 622, 623

 3   (9th Cir. 1991). In order for the first-to-file rule to apply, (1) the relevant action must have been

 4   filed prior to the one the Court is being asked to decline jurisdiction over; (2) the same or

 5   substantially similar parties must be involved; and (3) the issues raised in the suits must be the

 6   same or substantially similar. See Kohn, 787 F.3d at 1239–1240.

 7          The Pecznick action was the first-filed case, and the parties are substantially similar given

 8   that plaintiffs have proposed overlapping classes. See Edmonds v. Amazon.com, Inc., No.

 9   2:19-cv-01613, 2020 WL 5815745, at *4 (W.D. Wash. Sep. 20, 2020) (finding similarity of

10   plaintiffs in the context of a first-to-file motion where the putative classes encompassed “at least

11   some of the same individuals”) (citations omitted). However, the Court finds the third factor is

12   not met. As to the similarity of the issues between the various actions, the Pecznick Plaintiffs

13   argue in their opposition to the motion to consolidate that both the factual and legal claims are

14   “vastly different,” Dkt. No. 20 at 10–12, and they “still maintain that the issues are not similar”

15   in their motion to dismiss, Dkt. No. 31 at 4, undermining their arguments for a first-to-file

16   dismissal. The Pecznik Plaintiffs assert that if the Court is persuaded by Plaintiff Griffith and

17   Defendant’s arguments for consolidation, then the Court must also find that this third first-to-file

18   factor is met. Dkt. No. 31 at 4. The Court disagrees.

19          First-to-file dismissals are appropriate where “two identical actions are filed in courts of

20   concurrent jurisdiction,” Pacesetter Sys., Inc., 678 F.2d at 95, or where there is significant

21   overlap in issues such that it would be wasteful and duplicative to pursue the claims in separate

22   actions. Ekin, 2014 WL 12028588, at *3. Further, a danger of applying the doctrine where claims

23   vary between actions, as they do in this case, is that other potentially independent viable claims

24   may be extinguished on grounds other than their merits. Consolidation, on the other hand, only

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 1   requires that actions “involve a common question of law or fact.” Fed. R. Civ. P. 42(a)

 2   (emphasis added). For the reasons stated in Section II.B. below, the Court believes a more

 3   equitable outcome than dismissing or staying the Griffith action would be to consolidate the two

 4   cases. Indeed, consolidation of these cases would obviate the need to apply the first-to-file rule.

 5   See, e.g., Ekin, 2014 WL 12028588, at *3 (“consolidation is the preferred route [over a first-to-

 6   file rule stay] to avoiding the inherent inefficiencies involved with duplicative litigation”).

 7           Further, the “most basic aspect of the first-to-file rule is that it is discretionary.” Alltrade,

 8   946 F.2d at 625. “[D]istrict court judges can, in the exercise of their discretion, dispense with the

 9   first-filed principle for reasons of equity.” Id. at 628. When actions are pending before the same

10   judge, courts in this circuit have declined to apply the first-to-file rule. See Cole | Wathen | Leid |

11   Hall, P.C. v. Assoc. Indus. Ins. Co. Inc., No. 2:19-cv-02097, 2020 WL 3542516, at *2 (W.D.

12   Wash. June 30, 2020) (“the federal comity concerns underlying the first-to-file rule are not

13   present [when cases are pending before a single judge], so courts in this circuit have declined to

14   extend the rule accordingly”) (citations omitted); Ekin, 2014 WL 12028588, at *3 (“Courts

15   regularly decline . . . to apply the first-to-file rule . . . where the two actions are actively pending

16   before the same judge.”) (citation omitted); but see Dolores Press, Inc. v. Robinson, 766 F.

17   App’x 449, 453 (9th Cir. 2019) (declining to definitively resolve the issue of whether “the first-

18   to-file rule is inapplicable when the two actions are filed in the same district”). In asserting that

19   the first-to-file rule is not limited to cases brought in different districts, the Pecznick Plaintiffs

20   cite to mostly non-Washington cases, along with a single, “see also” 2 reference to a Washington

21   case, GM Northrup Corp. v. Mass. Bay Ins. Co. No. 3:22-cv-05243, 2022 WL 1689631 (W.D.

22   Wash. May 26, 2022). Dkt. No. 31 at 2–3. However, GM Northrup Corp. involved actions filed

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      According to Bluebook Rule 1.2(a), “see also” is an introductory signal to be used where “[c]ited authority
24   constitutes additional source material that supports the proposition.”


     ORDER CONSOLIDATING CASES, DENYING MOTION TO DISMISS OR STAY, AND APPOINTING INTERIM CLASS COUNSEL
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 1   in two different states, i.e., Washington and Minnesota. The Court finds the Pecznick Plaintiffs’

 2   misleading use of this case to be troubling.

 3          Given these two cases are in the same district before the same judge and consolidation is

 4   an option, the Court denies the Pecznik Plaintiffs’ motion to dismiss.

 5   B.     Motions to Consolidate

 6          District courts may consolidate actions that “involve a common question of law or fact.”

 7   Fed. R. Civ. P. 42(a) (emphasis added). A court has “broad discretion” under this rule to

 8   consolidate actions pending within one judicial district. Investor’s Rsch. Co. v. U.S. Dist. Ct. for

 9   Cent. Dist. of Cal., 877 F.2d, 777 (9th Cir. 1989). Factors relevant to the analysis include

10   “judicial economy, whether consolidation would expedite resolution of the case, whether

11   separate cases may yield inconsistent results, and the potential prejudice to a party opposing

12   consolidation.” Chorak v. Hartford Cas. Ins. Co., No. 2:20-cv-00627, 2020 WL 8611291, at *1

13   (W.D. Wash. Nov. 10, 2020) (citation omitted).

14          Though the Pecznick Plaintiffs insist that their complaint differs significantly from the

15   complaint in the Griffith case, see Dkt. No. 20 at 9–12, both cases are against the same

16   defendant, have similar plaintiffs, center around the same core fact (Defendant charging Amazon

17   Prime customers a fee for deliveries from Whole Foods Market), and assert causes of action

18   under the Washington Consumer Protection Act on behalf of overlapping classes. Compare

19   Pecznick Dkt. No. 1 with Griffith Dkt. No. 1. While the other theories (breach of contract versus

20   false advertising) may be different, the Court respects that plaintiffs are the masters of their own

21   complaints. Newtok Vill. v. Patrick, 21 F.4th 608, 616 (9th Cir. 2021). And as the drafters of

22   their complaint, Pecznick Plaintiffs cannot now assert that both cases do not involve a common

23   factual question regarding the propriety of Amazon’s fee for deliveries from Whole Foods

24   Market for Amazon Prime customers and some similar legal theories related to the fee.

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 1           Given the similarities between the cases, the Court finds it would further judicial

 2   economy to consolidate the cases and expedite their resolution by avoiding duplicative

 3   discovery. As the cases are before the same judge, the risk of inconsistent results is low. 3 With

 4   regard to prejudice, the Pecznick Plaintiffs fear that their breach of contract claim will be de-

 5   prioritized and “fundamental[ly] misunderst[ood]” by Plaintiff Griffith’s counsel, Dkt. No. 42 at

 6   13, but they have not established that consolidation is likely to prejudice their claims. In fact, the

 7   Pecznick Plaintiffs do not address the issue of prejudice at all in their opposition to the motion to

 8   consolidate. See Dkt. No. 20. Rather, the Pecznick Plaintiffs argue, for the first time in their reply

 9   brief for their motion to dismiss, that “were Griffith to include Peznick’s [sic] breach of contract

10   claims in a consolidated complaint, it would necessarily require her negligent misrepresentation

11   claim to be dismissed under the independent duty doctrine.” Dkt. No. 42 at 14. “It is not

12   acceptable legal practice to present new evidence or new argument in a reply brief.” United

13   Specialty Ins. Co. v. Shot Shakers, Inc., No. 2:18-cv-00596, 2019 WL 199645, at *6 (W.D.

14   Wash. Jan. 15, 2019), aff'd, 831 F. App'x 346 (9th Cir. 2020). Neither opposing counsel nor

15   counsel for Plaintiff Griffith had the opportunity to respond to this argument, and the Court does

16   not consider it in its ruling.

17           For the reasons stated in this section, the Court believes the factors weigh in favor of

18   consolidation. Therefore, the Court will consolidate the Pecznick and Griffith cases. All future

19   filings shall bear the following case caption and be filed in Case No. 2:22-cv-00743-TL:

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      Coordination is typically utilized when cases are pending in different jurisdictions. See 3 Newberg and Rubenstein
     on Class Actions § 10:41 (6th ed.). This Court’s discussion of coordination in Tokarski v. Med-Data Inc., No.
24   2:21-cv-00631, 2022 WL 815882, at *4, was in the context of two actions in different jurisdictions.


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 2                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 3                                          AT SEATTLE

 4
        IN RE: AMAZON SERVICE FEE                             CASE NO. 2:22-cv-00743-TL
 5      LITIGATION
                                                              (CONSOLIDATED CASE)
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            C.      Appointment of Interim Class Counsel
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            Under the Federal Rules of Civil Procedure, a district court “may” designate interim
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     counsel prior to class certification. Fed. R. Civ. P. 23(g)(3). The commentary to this rule further
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     notes that a court is authorized to designate interim counsel “if necessary to protect the interests
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     of the putative class.” Fed. R. Civ. P. 23 advisory committee's note to 2003 amendment
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     (emphasis added). Appointment of interim class counsel is particularly suited to situations where
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     “a number of lawyers may compete for class counsel appointment” due to “a number of
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     overlapping, duplicative, or competing suits pending in other courts, and some or all of those
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     suits may be consolidated.” Manual for Complex Litig. (Fourth) § 21.11 (2021). “The court has
18
     the discretion, but not the obligation, to appoint interim class counsel in advance of class
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     certification.” Zaldivar v. T-Mobile USA, Inc., No. 2:07-cv-01695, 2008 WL 11344661, at *3
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     (W.D. Wash. June 19, 2008) (finding it necessary to appoint interim counsel when where two
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     counsel groups were “unable to agree upon a shared role in representing class members” and
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     “disagree[d] sharply over who belong[ed] in the proposed class”).
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     ORDER CONSOLIDATING CASES, DENYING MOTION TO DISMISS OR STAY, AND APPOINTING INTERIM CLASS COUNSEL
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 1          In this instance, the rivalry between the counsel groups representing Plaintiffs and their

 2   disagreement over the scope of the proposed class(es) counsel in favor of appointing one counsel

 3   group as interim class counsel. Appointing interim class counsel would likely achieve “greater

 4   efficiency and clarity” in the pre-certification stages of this suit. See In re Seagate Tech. LLC

 5   Litig., No. 3:16-cv-00523, 2016 WL 3401989, at *2 (N.D. Cal. June 21, 2016) (declining to

 6   appoint interim class counsel while noting that “rivalry or uncertainty” may make formal

 7   designation of such counsel appropriate in some cases) (citation omitted).

 8          Courts typically look to the factors set forth in Rule 23(g) for appointment of class

 9   counsel when assessing the adequacy of the counsel vying to serve as interim class counsel:

10                  (1) the work counsel has done in identifying or investigating potential claims in
                    the action;
11                  (2) counsel’s experience in handling class actions, other complex litigation, and
                    the types of claims asserted in the action;
12                  (3) counsel’s knowledge of the applicable law; and
                    (4) the resources that counsel will commit to representing the class.
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     Id. (quoting Fed. R. Civ. P. 23(g)(1)(A)). Additionally, the Court will consider “any other matter
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     pertinent to counsel’s ability to fairly and adequately represent the interests of the class.” Id.
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     (quoting Fed. R. Civ. P. 23(g)(1)(B)). When multiple “adequate” counsel groups seek
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     appointment as class counsel, the Court “must appoint the applicant best able to represent the
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     interests of the class.” Fed. R. Civ. P. 23(g)(2). Indeed, the duty of class counsel is to “fairly and
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     adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(4).
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            Having reviewed the competing counsel groups’ respective submissions and all of the
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     briefing related to this matter, the Court appoints the counsel team for the Griffith action
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     (BORDE LAW PLLC, Schroeter Goldmark & Bender, and the Law Offices of Ronald A.
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     Marron, APLC) as interim class counsel. Both counsel groups have demonstrated work done in
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     investigating the potential claims, relevant experience and knowledge, and adequate resources to
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     ORDER CONSOLIDATING CASES, DENYING MOTION TO DISMISS OR STAY, AND APPOINTING INTERIM CLASS COUNSEL
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 1   represent the class. See Dkt. Nos. 31–36; Griffith Dkt. Nos. 14–17. However, the Griffith team

 2   has shown more care and attention in this early stage of litigation than their competitor.

 3   Compare, e.g., Griffith Dkt. No. 14 (Plaintiff Griffith’s motion containing detailed argument

 4   regarding the caselaw on appointment of class counsel and her firms’ qualifications) with Dkt.

 5   No. 31 (Pecznick Plaintiffs’ motion largely repeating arguments already made regarding

 6   appointment of class counsel). The Court additionally finds the Griffith complaint to be more

 7   thorough, and its class definition more comprehensive.

 8          Also significant to the Court’s decision is that counsel for the Pecznick Plaintiffs have

 9   misrepresented their credentials to serve as experienced class counsel, as pointed out by Plaintiff

10   Griffith in her reply brief to her motion to consolidate. See Griffith Dkt. No. 34 at 7–9. The

11   Pecznick Plaintiffs’ attempt to rehabilitate the misrepresentation by Wilshire Law Firm, PLC,

12   falls short of being persuasive. See Dkt. No. 20 at 22 (stating that “Wilshire’s class action

13   department has been class counsel numerous times” and listing matters where the firm was not in

14   the class counsel group); Dkt. No. 30 at 1 (offering a praecipe to correct the false statement by

15   changing it to say the firm “has been class counsel, or otherwise involved” in those matters)

16   (emphasis added). This is not just a typo. While recognizing the important work of attorneys who

17   play a supporting role in class action cases, there is still a significant difference between being

18   appointed class counsel versus being “otherwise involved” in a class action case. Stating one

19   “has been class counsel” suggests that one was either representing the class as lead counsel by

20   default where there was no competition for that role or by appointment as lead counsel where

21   leadership of a case was contested (or, at a minimum, by appointment as part of an executive

22   committee or leadership committee, even though it would be best practice to also specify this if it

23   was the case). The misrepresentation of a case discussed in Section II.A. gives the Court further

24   pause. While the Court is also concerned with the issues raised as to the qualification and actions

     ORDER CONSOLIDATING CASES, DENYING MOTION TO DISMISS OR STAY, AND APPOINTING INTERIM CLASS COUNSEL
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 1   of the Marron firm in the proposed Griffith counsel group, see Dkt. No. 42 at 10–12, no

 2   questions have been raised regarding the qualifications of Schroeter Goldmark & Bender or

 3   BORDE LAW PLLC.

 4          Moreover, the Pecznick Plaintiffs failed to comply with this Court’s Standing Order,

 5   which requires parties to confer before filing most motions. See Dkt. No. 39 at 2; Griffith Dkt.

 6   No. 41 at 2. The Pecznick Plaintiffs even misstate the plain requirements of this Court’s Standing

 7   Order in defending their failure to discuss their plan to file a motion seeking a stay or dismissal

 8   with opposing parties. See Griffith Dkt. No. 46 at 7 (claiming their motion is a partially

 9   dispositive motion not subject to the Court’s conferral requirement); see generally Judge Tana

10   Lin, Standing Order for All Civil Cases, Section II(D) (explaining that while parties generally do

11   not need to confer before filing dispositive motions, there are separate conferral requirements for

12   motions to dismiss); Judge Tana Lin, Standing Order for All Civil Cases, Section II(I) (motions

13   to dismiss “must contain a certification of conferral as set forth above in Section II (D)”).

14                                        III.    CONCLUSION

15          For the reasons stated above, the Court hereby:

16          (1) GRANTS the motions to consolidate (Griffith Dkt. No. 14; Dkt. No. 16) and

17              consolidates Plaintiffs Joy Pecznick and Gil Kaufman v. Amazon.com, Inc., Case No.

18              2:22-cv-00743-TL, and Dena Griffith v. Amazon.com, Inc., Case No. 2:22-cv-00783-

19              TL, under 2:22-cv-00743-TL for all purposes, including trial;

20          (2) DENIES the motion to stay or dismiss the Griffith case (Dkt. No. 31);

21          (3) DESIGNATES Pecznick, et al. v. Amazon.com, Inc., Case No. 2:22-cv-00743-TL the

22              lead case in this consolidated action. The case shall hereinafter be captioned as In Re

23              Amazon Service Fee Litigation;

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 1          (4) DIRECTS all counsel to file all further documents only under the lead case, Case No.

 2              2:22-cv-00743-TL;

 3          (5) DIRECTS the Clerk to file this order in Case No. 2:22-cv-00743-TL and Case No.

 4              2:22-cv-00783-TL;

 5          (6) INSTRUCTS the Clerk to leave open the member case, Case No. 2:22-cv-00783-TL;

 6          (7) APPOINTS BORDE LAW PLLC, Schroeter Goldmark & Bender, and the Law Offices

 7              of Ronald A. Marron, APLC, as interim class counsel; and

 8          (8) ORDERS interim class counsel to file a consolidated amended complaint that faithfully

 9              represents every claim from both actions within thirty (30) days of this Order.

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11          Dated this 27th day of September 2022.

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                                                         A
                                                         Tana Lin
                                                         United States District Judge
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     ORDER CONSOLIDATING CASES, DENYING MOTION TO DISMISS OR STAY, AND APPOINTING INTERIM CLASS COUNSEL
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